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                                       MEMO ENDORSED
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     It is hereby ORDERED that Defendants Eve, LLC, Solomon Mayer,
     and Eli Verschleiser shall answer or otherwise respond to the
     Amended Complaint by September 9, 2019. Failure to do so will
     result in default judgments being entered against them.



     Dated: August 23, 2019                       SO ORDERED.
            New York, New York



                                                  HON. KATHERINE POLK FAILLA
                                                  UNITED STATES DISTRICT JUDGE




A copy of this Order was mailed by Chambers to:

 Eli Verschleiser
 44 Wall Street
 New York, NY 10005




A copy of this Order was mailed by Chambers to:

Sol Mayer
5008 Old New Utrecht Rd.
Brooklyn, NY 11204
